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19    FUNIMATION ENTERTAINMENT AND GEN
      FUKUNAGA, INDIVIDUALLY
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                            JOINT STIPULATION RE REQUEST FOR DISMISSAL
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  1                         UNITED STATES DISTRICT COURT
  2                        CENTRAL DISTRICT OF CALIFORNIA
  3
  4   NICHOLAS LYON, an individual,              CASE NO. SACV13-1322 MWF
                                                 (AJWx)
  5                      Plaintiff,
                                                 JOINT STIPULATION RE
  6                v.                            REQUEST FOR DISMISSAL
  7   FUNIMATION PRODUCTIONS,
      LTD., dba FUNIMATION
  8   ENTERTAINMENT; AMERICAN               Courtroom 1600, Sixteenth Floor
      UNITED MEDIA, LLC, dba IFA            Judge: Hon. Michael W. Fitzgerald
  9   DISTRIBUTION; ROBERT
      RODRIGUEZ, as an individual; GEN
10    FUKUNAGA, as an individual;
                             Motion Cutoff:
      GIANT APE MEDIA; BULLET FILM
11    PRODUCTION COMPANY, L.L.C.,
      and DOES 1 through 50,
12
                         Defendants.
13
14
15          Plaintiff NICHOLAS LYON (“Plaintiff”), on the one hand, and Defendants
16    FUNIMATION PRODUCTIONS, LTD., d/b/a FUNIMATION
17    ENTERTAINMENT, in its individual capacity and in its capacity as the Managing
18    Member of Bullet Film Production Company, LLC, and GEN FUKUNAGA, as an
19    individual (“Defendants”) (collectively, the “Parties”), by and through their
20    respective counsel of record herein stipulate as follows:
21
22    1.    WHEREAS, on December 10, 2013, the Court ordered this action stayed
23    pending resolution of the proceedings in the Eastern District of Texas, FUNimation
24    Productions, Ltd. v. SC Films International, Inc., No. 4:13-CV-329 (Docket No. 59)
25    and pending resolution of arbitration entitled In the Matter of the Arbitration
26    between FUNimation Productions Ltd dba FUNimation Entertainment, Claimant, v.
27    SC Films International, Inc., Matthew Joynes, Individually, and Nicholas Lyon,
28    Individually, Respondents, Case No. 50-140-T-000936-13, in the Arbitration
                                                 2
                           JOINT STIPULATION RE REQUEST FOR DISMISSAL
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  1   Tribunals of the American Arbitration Association (collectively, “Lawsuits”);
  2
  3   2.    WHEREAS, the Parties have entered into a Settlement and Mutual Release
  4   Agreement (“Settlement Agreement” ) to settle and compromise all of their claims
  5   against each other relating to their lawsuits and arbitration and/or the motion picture
  6   of the live action film known as “Bullet”; and
  7
  8   3.    WHEREAS, the Parties have agreed to bear their own attorneys’ fees and
  9   costs arising from the case at bar.
10
11    4.    WHEREAS, the Parties have agreed pursuant to the Settlement Agreement to
12    dismiss their lawsuits against each other with prejudice.
13
14    5.    THEREFORE, the Parties respectfully request that the Court order a
15    dismissal of the above captioned case with prejudice as to all parties and as to all
16    claims.
17    Dated: April 22, 2015                  KINAGA LAW FIRM
18
19                                     By: /s/ Patricia A. Kinaga

20                                           PATRICIA A. KINAGA

21                                           Attorneys for Plaintiff
                                             NICHOLAS LYON
22
23    Dated: April 22, 2015                  JONES WALKER, LLP.

24                                     By: /s/ Lauren J. Harrison
25                                           LAUREN J. HARRISON
26                                           Attorneys for Defendant
                                             FUNIMATION PRODUCTIONS, LTD.
27                                           D/B/A FUNIMATION ENTERTAINMENT
                                             AND GEN FUKUNAGA, INDIVIDUALLY
28
                                                  3
                            JOINT STIPULATION RE REQUEST FOR DISMISSAL
